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 2                                                                 ENTER JS-6
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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10
11   GINA JACKSON,                            )   Case No.   CV-11-1923-R
                                              )
12                          Plaintiffs,       )   ORDER OF DISMISSAL
                                              )
13           v.                               )
                                              )
14   NORTHSTAR LOCATION                       )
     SERVICES LLC,                            )
15                                            )
                     Defendants.              )
16   ____________________________
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             THE COURT having been advised by the counsel for the parties that the above-
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     entitled action has been settled;
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without costs
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     and without prejudice to the right, upon good cause shown within 40 days, to reopen the
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     action if the settlement is not consummated. The Court reserves its jurisdiction for the
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     purpose of enforcing the settlement.
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     Dated        June 29, 2011
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26                                                      MANUEL L. REAL
                                                   United States District Judge
27
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